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               UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                        EL PASO DIVISION


USA                                      §
                                         §
vs.                                      § No: EP:20-CR-00389(1)-DCG
                                         §
(1) Patrick Wood Crusius                 §

                     ORDER VACATING SETTING

      IT IS HEREBY ORDERED that the above entitled and numbered case
having been set for RESTITUTION HEARING on Monday, September 25,
2023, at 9:00 AM. is hereby VACATED UNTIL FURTHER ORDER FROM
THE COURT.
      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of
this order to counsel for defendant, the United States Attorney, United States
Pretrial Services and the United States Probation Office.    Counsel for the
Defendant shall notify the defendant.


      IT IS SO ORDERED on this 22nd day of September, 2023.




                                        ______________________________
                                        HON. DAVID C GUADERRAMA
                                        SENIOR UNITED STATES DISTRICT
                                        JUDGE
